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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       www.flsb.uscourts.gov

In re:                                                    Case No: 11-44797-PGH
                                                          Chapter 13
         VANESSA HILL
               Debtor              /

          MOTION TO VALUE AND DETERMINE SECURED STATUS OF LIEN
     ON REAL PROPERTY BY: ONEWEST BANK AND CERTIFICATE OF SERVICE OF
     COURT GENERATED NOTICE OF HEARING UPON FILING OF INSTANT MOTION

                                IMPORTANT NOTICE TO CREDITORS:
                          THIS IS A MOTION TO VALUE YOUR COLLATERAL

         This Motion seeks to value collateral described below securing the claim of the
         creditor listed below.
             _________________________________________________________________

         IF YOU DISPUTE THE VALUE ALLEGED OR TREATMENT OF YOUR CLAIM
         PROPOSED IN THIS MOTION, YOU MUST FILE A WRITTEN OBJECTION NO
         LATER THAN TWO BUSINESS DAYS PRIOR TO THE SCHEDULED HEARING
                            [SEE LOCAL RULE 3015-3(A)(2)]


         If you have not filed a proof of claim, you have until the later of the claims bar date
         or 21 days from the date this Motion was served upon you to file a proof of claim or
         you will be deemed to have waived the right to payment of any unsecured claim to
         which you might otherwise be entitled. [See Local Rule 3015-3(A)(4)]

1.       Pursuant to 11 U.S.C. §506, Bankruptcy Rule 3012, and Local Rule 3015-3, the debtor seeks to
         value real property securing the claim of ONE WEST BANK             (the “Lender”). Lender
         holds a mortgage recorded at OR Book 2000 Page 1219 in the official records of Palm Beach
         County, Florida.

     2. The real property is located at 2501 S OCEAN BLVD, #105, BOCA RATON , FL 33432 and
        is more particularly described as follows:

     CONDOMINIUM PARCEL NO 105 OF BOCA CAPRI CONDOMINIUM APTS. A
     condominiums, according to the Declaration thereof, as recorded in official records 1131 at
     Page 465, of Public Records of palm Beach County County, FL




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     3. At the time of the filing of this case, the value of the real property is $150,000.00
        as determined by Debtor’s internet research (i.e www.eppraisal.com).


4.       ONE WEST BANK            hold liens on the real property, senior to priority to Lender, securing
        claims in the aggregate amount of $ 239,383.00 .

5.      (Select only one):


                 Lender’s collateral consists solely of the debtor’s principal residence. As
                 there is no equity in the real property after payment in full of the claims
                 secured by liens senior to that of Lender, the value of Lender’s secured
                 interest in the real property is $0.

       X        Lender’s collateral is not solely the debtor’s principal residence. After payment in
                full of the claims secured by liens senior to that of Lender, there is equity of
                $20,000.00 remaining in the real property. Accordingly, the value of Lender’s
                secured interest in the real property is $20,000.00 and the value of the Lender’s
                unsecured, deficiency claim is $37,449.00.


6.      The undersigned reviewed the docket and claims register and states (select only one):

           x     Lender has not filed a proof of claim in this case. The trustee shall not
                 disburse any payments to Lender unless a proof of claim is timely filed. In
                 the event a proof of claim is timely filed, it shall be classified as a secured
                 claim to the extent provided in paragraph 5, above, and as a general
                 unsecured claim for any deficiency, regardless of the original classification
               in the proof of claim as filed..The claim shall be secured in the amount of $20,000.00 at
           5.25% totaling $22,783.20 to be paid through the plan and the balance in the amount of
           $37,449.00 shall be classified as a general unsecured claim regardless of the original
           classification in the Proof of Claim.

                                                  or
                 Lender filed a proof of claim in this case. It shall be classified as a
                 secured claim to the extent provided in paragraph 5, above, and as a
                 general unsecured claim for any deficiency, regardless of the original
                 classification in the proof of claim.

7.      The subject real property may not be sold or refinanced without proper notice
        and further order of the court.

        WHEREFORE, the debtor respectfully requests an order of the Court (a) determining the value



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of the real property in the amount asserted in this Motion, (b) determining the secured status of the
Lender’s lien as stated above, (c) determining that any timely filed proof of claim is classified as stated
above, (d) if Lender’s secured interest in the real property is determined to be $0, deeming Lender’s
mortgage on the real property void and extinguished automatically, without further order of the Court,
upon entry of the debtor’s discharge in this chapter 13 case, and (e) providing such other and further
relief as is just.

NOTICE IS HEREBY GIVEN THAT:

1.      In accordance with the rules of this Court, unless an objection is filed with the Court and served
        upon the debtor, the debtor’s attorney, and the trustee at least two (2) business days prior to the
        hearing scheduled on this Motion, the value of the collateral may be established at the amount
        stated above without further notice, hearing or order of the Court. Pursuant to Local Rule 3015-
        3, timely raised objections will be heard at the hearing scheduled on the Motion.

2.      The undersigned acknowledges that this Motion and the notice of hearing thereon must be served
        pursuant to Bankruptcy Rule 7004 and Local Rule 3015-3 at least 21 days prior to the hearing
        date and that a certificate of service must be filed when the Motion and notice of hearing thereon
        are served.

                            CERTIFICATE OF SERVICE AND COMPLIANCE
                            WITH LOCAL RULES 3015-3(A)(1) AND 9073-1(D)

      I hereby certify that a copy of this Motion and the Court Generated Notice of Hearing upon filing

of instant motion was served pursuant to Bankruptcy Rule 7004 on the Chapter 13 trustee and the

following affected parties on March 20, 2012 and that I have conferred with opposing counsel in an

attempt to resolve these issues before requesting this hearing:

Served Upon: Electronically                            Served VIA CERTIFIED US Mail:
                                                       ONEWEST BANK
Robin Weiner , Trustee                                 c/o Steven T Mmuchin, CEO or other officer
                                                       888 E Walnut Street
                                                       Pasadena, CA 91101



                                                     ___/s/ FILED VIA ECF_____________
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